598 F.2d 618
    B C D Barge Rental, Inc.v.Gulf Outlet Fuel and Marine Supplies, Inc.*
    No. 78-2842
    United States Court of Appeals, Fifth Circuit
    6/19/79
    
      1
      E.D.La.
    
    
      2
      AFFIRMED IN PART, REVERSED IN PART***
    
    
      
        *
         Summary Calendar case; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        ***
         Opinion contains citation(s) or special notations
      
    
    